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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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In re:                                                             :
                                                                   :       Chapter 11
REPUBLIC METALS REFINING                                           :       Case No. 18-13359 (SHL)
CORPORATION, et al.,1                                              :
                                                                   :       (Jointly Administered)
                                    Debtors.                       :
------------------------------------------------------------------ x
CORNERSTONE ASSET METALS, LLC,                                     :
                                                                   :
                                    Plaintiff,                     :      Adv. Pro. No. 18-01771
                                                                   :
                  - against -                                      :
                                                                   :
REPUBLIC METALS REFINING CORPORATION, :
REPUBLIC METALS CORPORATION, REPUBLIC :
CARBON COMPANY, LLC, COÖPERATIEVE                                  :
RABOBANK U.A., NEW YORK BRANCH,                                    :
BROWN BROTHERS HARRIMAN & CO.,                                     :
BANK HAPOALIM B.M., MITSUBISHI                                     :
INTERNATIONAL                 CORPORATION,                ICBC :
STANDARD BANK PLC, TECHEMET METAL                                  :
TRADING LLC, WOODFOREST NATIONAL                                   :
BANK, and BANK LEUMI USA                                           :
                                                                   :
                                    Defendants.                    :
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                   ORDER APPROVING STIPULATION OF SETTLEMENT

         Upon the motion (the “Motion”)2 of the Republic Metals Refining Corporation and its

debtor affiliates (collectively, the “Debtors”), as debtors and debtors in possession in the above-


1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, include: Republic Metals Refining Corporation, 15 West 47th Street, Suites 206 and 209, New York, NY
10036 (3194), Republic Metals Corporation, 12900 NW 38th Avenue, Miami, FL 33054 (4378), Republic Carbon
Company, LLC, 5295 Northwest 163rd Street, Miami Gardens, FL 33014 (5833), Republic High Tech Metals, LLC,
13001 NW 38 Avenue, Miami, FL 33054 (6102), RMC Diamonds, LLC, 12900 NW 38th Avenue, Miami, FL
33054 (1507), RMC2, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (4696), J & L Republic LLC, 12900 NW
38th Avenue, Miami, FL 33054 (7604); R & R Metals, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (7848),
Republic Metals Trading (Shanghai) Co., Ltd., 276 Ningbo Road, Huangpu District, Shanghai, P.R. 200001 China
(1639), and Republic Trans Mexico Metals, S.R.L., Francisco I. Madero No. 55 Piso 5, Local 409, Centro Joyero
Edificio Central, Delegación Cuauhtémoc, Mexico DF 6000 (2942).
2
  All capitalized terms not defined herein shall have the definitions set forth in the Motion.


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captioned chapter 11 cases (the “Chapter 11 Cases” or “Cases”), for entry of an Order approving

the Stipulation of Settlement by and among the Debtors, Cornerstone Asset Metals, LLC, and the

Debtors’ Senior Lenders pursuant to Federal Rule of Bankruptcy Procedure 9019 (the

“Bankruptcy Rules”), and shortening notice pursuant to Bankruptcy Rule 9006(c)(1); and it

appearing that the Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334; and this

proceeding being a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and it appearing that

notice of the Motion as set forth therein is sufficient under the circumstances, and that no other

or further notice need be provided; and it further appearing that the relief requested in the Motion

is in the best interests of the Debtors’ estates, creditors, and other parties-in-interest; and the

Court having determined that the proposed settlement falls above the lowest point in the range of

reasonableness; and upon all of the proceedings had before the Court; and after due deliberation

and cause appearing;

IT IS HEREBY ORDERED THAT:

         1.    The Motion is GRANTED as set forth herein.

         2.    Pursuant to Bankruptcy Rule 9006(c)(1), the time for notice of the hearing on the

Motion was shortened such that the hearing was held on December 14, 2018.

         3.    Pursuant to Bankruptcy Rule 9019 and 11 U.S.C. § 105(a), the Settlement

Agreement is approved and is fully enforceable in all respects.

         4.    The Debtors, Cornerstone, and the Senior Lenders shall comply with all terms of

the approved Settlement Agreement.

         5.    Notwithstanding the possible applicability of Bankruptcy Rules 6004(a) and

6004(h) or otherwise, the terms and conditions of this Order shall be immediately effective and




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enforceable upon its entry, and the requirements of Bankruptcy Rules 6004(a) and 6004(h) are

hereby waived.

         6.    The Debtors, Cornerstone, and the Senior Lenders are hereby authorized and

empowered to take such steps and perform such acts as may be necessary to implement and

effectuate the terms of this Order.

         7.    This Court shall retain jurisdiction to hear and determine all matters arising from

the implementation and/or interpretation of this Order.

Dated: New York, New York
       December 18, 2018



                                               /s/ Sean H. Lane
                                               United States Bankruptcy Judge




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